
14 N.Y.2d 608 (1964)
The People of the State of New York, Respondent,
v.
Hyman Finkelstein, Appellant.
Court of Appeals of the State of New York.
Argued February 24, 1964.
Decided March 26, 1964.
Reuben E. Gross for appellant.
Edward S. Silver, District Attorney (Harry Brodbar, Raymond J. Scanlan and David Diamond of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, VAN VOORHIS, BURKE, SCILEPPI and BERGAN. Judge FULD dissents and votes to reverse the conviction and to dismiss the information.
Judgment affirmed; no opinion.
